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mo __.n.c

IN THE UNITED STATES DISTRICT COURT
osJuL 19 PH 1.-1.7

FOR THE WESTERN DISTRICT OF TENNESSEE

WESTERN DIVISION
C'uf '1».13 h': iE'_D
UNITED sTATEs 0F AMERICA, CLEE%%W § bfnl§§pHC!CSJUH
Plaintiff,
V CR. No. 05-20132£'v
DAVID ALANIS, c
§§ m §
C_
Defendants, §S§ § §
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t §§

 

MOTION FOR CONTINUANCE AND TO EXCLUDE'§ §>§ <`-`[;§
DEFENDANT’S PRESENCE §

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Comes now the defendant, by and through his undersigned counsel(s) of record
and respectfully requests this Honorable Couit to issue an order both continuing this

matter to another report setting and excusing his presence from the next hearing and for

good cause states:
1 Thls case is also connected to another conspiracy case from the Western

District Court of Texas.
2 In that record co counsel for the Defendant as indicated that these case(s) may

be able to be settled by a plea if matters can be Worked in conjunction with one another

3 Defendant would request a reset of this case for (60) sixty days in an attempt to

settle both matters Ms Lorraine Craig, Assistant United States Attorney has agreed to

this continuance
MOTION GRANT§D

 

RN|CE BOUlE DONALD
U.S. DlSTRlCT JUDGE

  

Thfs document entered on the docket she
with Hule 55 and/or 32(b) FRCrP on '

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4. Defendant also request this Honorable Court to excuse his presence as he is
wanting to be with his family and horne during Hurricane Emily and any potential
damage, repair, or clean up that needs to be done.

Wherefore premises considered, Defendant request this Honorable Court to issue

an Order both continuing his case for (60) sixty days and excusing his presence.

Respectfully submitted,
1 >§W
M®§AU

chardo L. Salinas
Bar No. 00796421
2011 N. Conway
Mission, T 78572

 

Memphis, TN 38103
(901) 525-4357
(901) 888-6826

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CERTIFICATE OF SERVICE

I, Larry E. Copeland, Jr., hereby certify that a true and exact copy of the foregoing

has been hand delivered, mailed posta e prepaid, to the Assistant
U.S. Attorney, 167N Main Street, Mernphis, TN, this l day of /)" 2005.

M/s//

Larr .Copel

     
 

  

UNITED sATE DISTRICT COURT - WTERN DISRTCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
case 2:05-CR-20132 Was distributed by faX, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

